Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 1 of 43




                COMPOSITE
                   EXHIBIT 1
             (File Under Seal)
         Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 2 of 43

Case 9:16-mc-81608-DMM *SEALED* Document 4
                                      of 6


                                        United States District Court
                                        Southern District of Florida


    Virginia L Giuffre,

                    Plaintiff,                      Case No.: - - -- -
                                                    Cudcrlying Cas1: No. : 15-cv-07433-RWS
                                                      (Southern District of New York) (Si.veet, J.)

    V.


    Jeffrey Epstein,

                    Defendant.
                                              I
                                   ---- ---'
       PLAINTIFF'S Sl-DALED AGHEEI> MOTTO~ TO FILE MOTTON TO COMPEL THE
        PRODUCTION OF DOCUMENTS AND TESTJJ\tONV FROM ,JEFFREY EPSTEIN
     l JNDER SEAL l'lJHSFANT TO LOCAL RULE 5.4(b) AND MOTION TO PLACE THE
                            E~TIRE DOCKET lfi\;DER SEAL

            Plctintiff Virginia Giuffre, by and through her undersigned counsel, respectfully submits

    this UnopposcJ Motion to file her ~fotion to Compel the Production of Documents and

    Testimony from Jeffrey Fpstein unJt:r Se:ll Pursuant to Local Rule 5.4(b) and Motion to Place

    the Entire Dockd Under Seal. and hcrcb y states as follows.

            I.      .FACTUAL HACKGROllNJ>

            The motion to compel sc..:b to compel production pursuant to a valid Rule 45 subpoena

    ii,sucd to JdTrcy Epstein in th\.! above-St) led case, pending in the Southern District of New York

    (the ··New York case''). The case concerns a defamation action brought by a rhiJd victim of

    convicted pedophile Jeffrey Epstein .against his live-in girlfriend who assisted him in prncuring

    undcrag1: girls, including the plaintirt: Ms. Oiuffrc. Bec;ausi.: of Epstein's central role in the New

    York case. it is important for Ms. Giu1fo:: 10 have the requested documents frnm him in

    discovery .
       Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 3 of 43




                                  United States District Court
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                                  Southern District of Florida

                                                                                       SEP 2 O 2016
Virginia L. Giuffre,
                                                                                      STEVEN M. lAA/MORE
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                                                                                     S.D. OF FLA. FT. LAUD.
               Plaintiff,                     Case No.: - - - - -
                                              Underlying Case No.: 15-cv-07433-RWS
                                                (Southern District of New York) (Sweet, J.)

V.


Jeffrey Epstein,

               Defendant.
- - - - - - - - - - - - - -I
  PLAINTIFF'S SEALED AGREED MOTION TO FILE MOTION TO COMPEL THE
  PRODUCTION OF DOCUMENTS AND TESTIMONY FROM JEFFREY EPSTEIN
 UNDER SEAL PURSUANT TO LOCAL RULE 5.4(b) AND MOTION TO PLACE THE
                     ENTIRE DOCKET UNDER SEAL

       Plaintiff Virginia Giuffre, by and through her undersigned counsel, respectfully submits

this Unopposed Motion to file her Motion to Compel the Production of Documents and

Testimony from Jeffrey Epstein under Seal Pursuant to Local Rule 5.4(b) and Motion to Place

the Entire Docket Under Seal, and hereby states as follows.

       I.      FACTUAL BACKGROUND

       The motion to compel seeks to compel production pursuant to a valid Rule 45 subpoena

issued to Jeffrey Epstein in the above-styled case, pending in the Southern District of New York

(the "New York case"). The case concerns a defamation action brought by a child victim of

convicted pedophile Jeffrey Epstein against his live-in girlfriend who assisted him in procuring

underage girls, including the plaintiff, Ms. Giuffre. Because of Epstein's central role in the New

York case, it is important for Ms. Giuffre to have the requested documents from him in

discovery.

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       Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 4 of 43




       During his deposition, Epstein failed to answer questions or produce documents in

response to a Rule 45 subpoena in the New York case. The instant motion seeks to compel

production from Epstein in three areas, detailed more fully in the Motion to Compel, based on

his improper invocation of the Fifth Amendment in refusing to comply with the subpoena.

Epstein's invocation of the Fifth Amendment was invalid for several reasons, as discussed in

detail in the Motion to Compel. One of those reasons, however, goes to the instant request to file

the motion to compel under seal and to place the docket under seal. In should be noted that the

entire deposition of Epstein is confidential, having been placed under the confidentiality order

that exists in the case.

        II.     LEGAL ARGUMENT

      The parties agree this case should be placed under seal because of the need for

confidentiality. There is no valid invocation of the Fifth Amendment when there is no threat to

self-incrimination, and there can be no threat to self-incrimination if the government is not aware

of the information Ms. Giuffre seeks pursuant to her valid Rule 45 subpoena. Because Ms.

Giuffre seeks to have all of the relevant proceedings to her motion to compel - including the

motion itself - be placed under seal at this time, the Government will not be aware of Epstein's

disclosure of materials, much less be in position to even file a motion to attempt alter the

protective order. In such circumstances, Epstein faces no "real and substantial hazard" of his act

of producing documents to Ms. Giuffre' s counsel incriminating himself. See United States v.

Kowalik, 809 F. Supp. 1571, 1577 (S.D . Fla. 1992), afj'd, 12 F.3d 218 (11th Cir. 1993), and ajj'd,

12 F.3d 218 (11 th Cir. 1993). Accordingly, by placing this case under seal, this Court can grant

Ms. Giuffre's motion to compel and direct Epstein to produce the relevant documents over his




                                                 2
       Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 5 of 43




improper Fifth Amendment objections because there is no risk of incrimination because these

proceedings will be under seal.

        Moreover, under the Protective Order issued by the New York case, Ms. Giuffre's

counsel (and counsel for Ms. Maxwell,1 the Defendant in the New York case) are forbidden to

disclose the materials for "any purpose except the preparation and trial of this case." Protective

Order,~ 4. Under the terms of the protective order, all materials secured in the case will be

destroyed at the end of tl1e case. Protective Order,~ 12. And while the Protective Order does

not bar the use of confidential materials at trial, Protective Order~ 13, Ms. Giuffre's counsel

represent that they will not use at trial any documents that Epstein produces without first

notifying Epstein and seeking leave of Court to do so. As a result, Epstein can provide

documents to Ms. Giuffre, allowing her to investigate this case without compromising any

interest that Epstein may have in avoiding self-incrimination.

       Additionally, the entire deposition has already been designated as "confidential" by

defendant Maxwell, making these proceedings subject to a protective order. See Motion to

Compel at Addendum A (copy of protective order). To enforce that previously-entered

confidentiality order from the Southern District of New York, these proceedings should be

confidential as well. Moreover, in such circumstances, there is no substantial risk of

incrimination from the mere production of documents to Ms. Giuffre's counsel, who are subject

to the protective order. See generally Marc Youngelson, The Use of 26(c) Protective Orders:

"Pleading the Fifth" Without Suffering "Adverse" Consequences, 1994 Ann. Surv. Am. L. 245

(1995); see also Palmieri v. State ofNew York, 779 F.2d 861 (2d Cir. 1985).




1
 It may be relevant to note that defendant Maxwell has not sought any documents from Epstein,
and thus the only issue presented here is the extent to which Ms. Giuffre can use the documents.
                                                 3
       Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 6 of 43




        Federal Rule of Civil Procedure 26 authorizes a court, for good cause, to enter a

protective order to seal or to limit disclosure. Indeed, courts have the discretion to place entire

cases under seal. See e.g. Beaches MLS, Inc. v. Miami Association of Realtors, Inc., 2015 WL

11170925, at *3 (S.D.Fla. 2015) (Marra, J.) (granting motion to file under seal and sealing the

case). Local Rule 5.4(b) provides the procedure to follow when a party seeks to file something

under seal: the party must file a motion, "setting forth a reasonable basis for departing from the

general policy of a public filing," and courts in this district routinely grant parties' motions to file

under seal for good cause. See e.g. Shire Development LLC v. Watson Pharmaceuticals, Inc., 932

F.Supp.2d 1349, 1359 (S.D.Fla. 2013) (Middlebrooks, J.); Air Turbine Technology, Inc. v. Atlas

Copco AB, 2003 WL 22939256, at* 1 (S.D.Fla. 2003) (Marra, J.).


       Ms. Giuffre has articulated good cause to grant her motion to file under seal and to seal

this case, as it would facilitate the execution of a valid Rule 45 subpoena issued upon Jeffrey

Epstein and follow the confidentiality order previously entered in this case by the U.S. District

Court for the Southern District of New York. Counsel for Ms. Giuffre has conferred with counsel

for Epstein, and counsel for Epstein has agreed to the filing of the Motion to Compel under seal.


       III.    CONCLUSION

       For the reasons set forth above, plaintiff, Virginia Giuffre, respectfully requests that the

Court grant her Agreed Motion to file her Motion to Compel the Production of Documents and

Testimony from Jeffrey Epstein under Seal Pursuant to Local Rule 5.4(b) and Motion to Place

the Entire Docket Under Seal for the reasons set forth above.



Dated: September 20, 2016                      Respectfully Submitted,



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Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 7 of 43




                          By: BOIE~                     XNERLLP

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      Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 8 of 43




                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 20th day of September, 2016, I served the foregoing

document this day on the individuals identified below via email:


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       Counsel for Jeffrey .l!,pstein




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                              Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 9 of 43
 JS 44 (Rev. 07/16) FLSD Revised 07/01/2016                                         CIVIL COVER SHEET
 ll1e JS 44 civil cover sheet and the mformauon contained herem neither replace nor supplement the filing and service of plead ings or other papers as required bv law, except as
 provided by local rules ofcourt This form, approved by the Judicial Conference of the United States in September 1974, ts reql 1rsd for tht; use of the Clerk of Court for the purpose
 of 1111tiatmg the civil docket sheet (SEE JNST!lli( ·m!NS ON Nl:.XT PAGI, OF THIS FORM) NOTICE: Attorney~ MUST Indicate II e !Jled • s s e low.                                                   DC
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 I. (a)      PLAINTIFFS Virginia L. Giuffre                                                                     DEFENDANTS Jeffrey Epstein                                     -------


    (b)     County of Residence of Ftrst Listed Pla111t1ff                                                      County of Residence of First L, sted Defendant Pair
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   (C) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (ff Known)
   Sigrid S. Mccawley, Esq., Boies, Schiller & Flcx.ner, LLP, 401 E. Las                                       Jack Alan Goldberger, Esq., Atterbury, Goldberger & Weiss, PA, 250
   Olas Blvd., #1200, Ft. Lauderdale, FL 33301 954-356-0011                                                    Australian Ave So., #1400, W. Palm Beach, FL 33401 561-659-8305
 ( d) Check County Where Action Arose:           □ MIAM I- DADE       □ MONROE      D BROWARD ,ti PALM BEACH D MARTIN D ST. LUCIE            D INDIAN RIVER      D OKEECHOBEE D HIGHLANDS

II. BASIS OF JURISDICTION                          (Place an "X" in One Rox Only)               Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff}
                                                                                                           (Fo r Diversity Cases Only)                                         and One Box for Defendant)
 D I      U.S. Government                                    Federal Question                                                         PTF    DEF                                                 PTF    DEF
             Plaintiff                          (U.S. Government Not a Party)                        Citi ze n of This State          D1      yl I      Incorporated or Principal Place          D 4     O4
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             Defendant                          (Indicate Citizenship <?/Parties in Item Ill)                                                              of Business In Another Strite

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IV. NATURE OF SUIT (!'face an "X" in One Hox Only)
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D 110 Insurance                     PERSONAL INJURY                     PERSONAL INJURY         D 625 Drug Related Seizure             □ 422 Appeal 28 USC I 58                □ 375 False Claims Act
D 120 Maiine                     D 310 Airplane                       0 365 Personal htju,y •           of Property 21 USC 88 I        0 423 Withdrawal                        □ 376 Qui Tam (31 USC
D 130 Miller Act                 0 315 Airplane Product                      Product Liability  D 690 Other                                    28 USC 157                          3729 (a))
D 140 Negotiable Instrument             Liability                     D 367 Health Care/                                                                                       □ 400 State Reapportionment
D 150 Recovery of Overpayment    D 320 Assault, Libel &                     Phannaceutical                                                PROP ERTY RIGll1S                    □ 410 Antitrust
       & Enforcement of Judgment        Slander                             Personal Injury                                            D 820 Copyrights                        □ 430 Banks and Banking
0 151 Medicare Act               D 330 Federal Employers'                   Product Liability                                          D 830 Pa lent                           □ 450 Commerce
D 152 Recovery of Defaulted             Liability                     D 368 Asbestos Personal                                          0 840 Trademark                         □ 460 Deportation
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       ofVeternn's Benefits      D 350 Molor Vehicle                  D 370 Other Fraud                 Act                            D 862 Black Lung (923)                  □ 490 Cable/Sm TV
D 160 Stockholdcrn' Suits        D 355 Motor Vehicle                  D 371 Trnth in Lending    D 720 Labor/Mgmt. Rela1 ions           □ 863 DIWC/DIWW (405(g))                □ 850 Securities/Commodities/
0 190 01her Conlrnct                   Product Liability              D 380 Other Personal      D 740 Railway Labor Act                □ 864 SSfD Title XV I                     Exchange
D 195 Conlract Product Liability D 360 Other Personal                       Property Damage     D 75 I Family and Medical              □ 865 RSI (405(g))                      □ 890 Other Statuto1y Actions
D 196 Franchise                        Injury                         D 385 Property Damage             Leave Act                                                              □ 89l Agricultural Acts
                                 D 362 Persona l Injui,' •                  Product Liability   D 790 Other Labor Litigation                                                   □ 893 Environmen1al Matters
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        RE.AL PROPCRTY                CIVILRIGHn                      PRISONER PETITIONS               Security Act                         FF.DERAL TAX SUITS                   Act
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VI. RELATED/                              (See instructions) : a) Re-filed Case □ YE S □ N O                            b) Related Cases ~ ES                  □ NO
RE-FILED CASE(S)                                          JUDGE: Kenneth A. Marra                                                              DOCKET NUMBER: 9:08-CV-80736-KAM

                                          Cite the U.S . Civil Statute under which you are filing and Write a Brief Statement of Cause (Do ,wt citejuriwlictional statutes u11less diversity):
VII. CAUSE OF ACTION Miscellaneous Action to Enforce Rule 45 Subpoena
                                          LENGTH OF TR IAL via                  days estimated (for both sides to try entire case)
VIII. REQUESTED IN                         □   CHECK lF T~IS IS A CLASS ACTION
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                                                                                                          DEMAND$
     COMPLAINT:                                UNDER F.R.CP 23
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ABOVE INFORMATION IS TRUE & CORR ECT TO THE BEST OF MY KNOWLEDGE
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          September 20, 2016

FOR OFFIC E llSE ONLY
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RECEIPT II                            AMOUNT                    !FP                     JUDGE                                      MAG JUDGE
         Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 10 of 43

Case 9:16-mc-81608-DMM *SEALED* Document 1 Entered on FLSD Docket 09/20/2016 Page 1
                                     of 26


                                         United States District Court
                                         Southern District of Florida

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                                                   lJnderlying Case No .: 15-cv-07433-RWS
                                                      (Southern District of New York) (Sweet, J.)

    V.


    Jeffrey Epstein,

                    Defendant.
                        - - - - - - -I
             PLAINTIFF'S SEALED MOTION TO COMPEL THE PROl>lJCTION OF
                 DOCUMENTS AND TESTIMONY FROM JF.FFUF.Y EPSTF:IN



            Plaintiff Virginia Giuffre, by and through her undersigned counsel , rcspcctfolly submits

    this motion to compel Jeffrey Epstein to pro<luce documents and testimony 1n response to his

    n:pcat1;d imo<.:ati1rn:- or the Ftfth Amendment at his recent deposition .

            This motion seeks to compel proJuction from Epstein in thn:c ar('as. First, at his

    deposition, Ep:-tdn asserted that the Fifth Amendment allowed him to dcclme to produce any

    documt:nts whatsoever. Epstein has the burden 0f demonstrating the applicability of the Fifth

    Amendment privilege, and he cannot carry that burden. He should be rcquin:d to produce

    Jocuments or, at the very least, a privikgc log so that the Court (and opposing counsel) can

    assess the validity of his claims.

           Second, Epstl.'!in was asked approximatc'.ly 500 hundred substantive questions at his

    deposition, and he tonk the Fifth rather than answer even a single one of them (other than the

    question about his name). Sume of the quest ions he rcf'used to answer pose no substantial risk or
      Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 11 of 43
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                                     United States District Court
                                     Southern District of Florida                   STEVEN M. lAAfMOAE
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Virginia L. Giuffre,

                Plaintiff,                     Case No. : - - - - -
                                               Underlying Case No.: 15-cv-07433-RWS
                                                 (Southern District of New York) (Sweet, J.)

V.


Jeffrey Epstein,

                Defendant.
- - - - - - - - - - - - - -I
         PLAINTIFF'S SEALED MOTION TO COMPEL THE PRODUCTION OF
             DOCUMENTS AND TESTIMONY FROM JEFFREY EPSTEIN



        Plaintiff Virginia Giuffre, by and through her undersigned counsel, respectfully submits

this motion to compel Jeffrey Epstein to produce documents and testimony in response to his

repeated invocations of the Fifth Amendment at his recent deposition.

        This motion seeks to compel production from Epstein in three areas. First, at his

deposition, Epstein asserted that the Fifth Amendment allowed him to decline to produce any

documents whatsoever. Epstein has the burden of demonstrating the applicability of the Fifth

Amendment privilege, and he cannot carry that burden. He should be required to produce

documents or, at the very least, a privilege log so that the Court (and opposing counsel) can

assess the validity of his claims.

        Second, Epstein was asked approximately 500 hundred substantive questions at his

deposition, and he took the Fifth rather than answer even a single one of them (other than the

question about his name). Some of the questions he refused to answer pose no substantial risk of

                                                  1
      Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 12 of 43




incrimination. He should be ordered to answer these specific questions, which are enumerated in

Section II, below.

        Third, Epstein also took the Fifth when asked questions about Ghislaine Maxwell's

interactions with females overseas. Maxwell was Epstein's live-in girlfriend who assisted him in

procuring underage girls. The Supreme Comt has made clear that a Fifth Amendment privilege

cannot be asserted with respect to incrimination in a foreign crime. And certainly Epstein has no

Fifth Amendment privilege involving sex crimes committed by another person. Epstein should

be ordered to answer specific questions identified in Section III, below about Maxwell's actions

in foreign countries.

                                    FACTUAL BACKGROUND
        1.     Ms. Giuffre has filed a defamation action in the Southern District of New York

against Ghislaine Maxwell. In brief, Ms. Giuffre alleges that defendant Ms. Ghislaine Maxwell

defamed her by calling her a "liar" for filing documents alleging that Maxwell and her boyfriend,

Jeffrey Epstein, had sexually abused her and trafficked her for sexual purposes. See Mccawley

Deel., Exhibit 1 (complaint in GiufFe v. Maxwell).

       2.      As discovery in this case has proceeded, Defendant initially suggested she would

take the Fifth and refuse to answer questions. During her deposition, however, Defendant did

not take the Fifth. Instead, she testified that she suffered from a series of memory lapses and

could not recall many of the key issues in dispute in this case. For example, at her deposition,

Defendant indicated that she lacked recollection of or was otherwise unable to specifically

answer the following questions: 1

       •       Whether Defendant observed a female under the age of 18 at Jeffrey Epstein's
               home in Palm Beach. See McCawley Deel., Ex. 2 (Maxwell Depa.) at 29;
1
 Maxwell has designated the entire contents of her deposition as confidential pursuant to the
Protective Order entered in that case, and, therefore, the contents must be filed under seal.
                                                 2
      Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 13 of 43




        •      Whether Defendant had meet Ms. Giuffre and introduced her to Epstein. Id. at
               33;

        •      Whether massage therapists at Epstein's mansions performed sexual acts. Id. at
               52-54.

        •      Whether Defendant was ever present to view Ms. Giuffre massaging Epstein. Id.
               at 75;

        •      Whether Defendant could recall Ms. Giuffre staying at any of Epstein's six
               homes. Id. at 81.

        •      Whether Defendant remembered taking a trip with Ms. Giuffre to travel over to
               Europe, including London. Id. at 108.

       •       Whether Defendant ever flew on one of Epstein's planes with a 17 year old. Id. at
               121-22.

       •       Whether the notation "GM" on flight logs for passengers on Epstein's planes
               represented the Defendant (i.e., Ghislaine Maxwell). Id. at 122-23.

       •       Whether Defendant could recall ever being on a flight on one of Epstein's planes
               with Ms. Giuffre. Id. at 132-33.

       •       Whether Defendant could explain why a minor would be calling Epstein to say
               they had a female for him. Id. at 164.

       •       Whether Defendant was aware of any interstate or international transportation of
               women, aged 18 to 28, for purposes of having sex with Epstein where they would
               receive compensation. Id. at 278-79.

       •       Whether Defendant could recall interacting with anyone, other than Ms. Giuffre,
               under the age of 18 on any of Epstein's properties. Id. at 384.


See Mccawley Deel. at Exhibit 2.

       3.      As this Court is aware from another pending case, Epstein is a registered sex

offender who entered into a non-prosecution agreement (NP A), barring his prosecution for

federal crime for his sexual abuse of Ms. Giuffre and multiple other victims. Several of

Epstein's sexual abuse victims have filed a suit alleging that they were not properly notified of


                                                 3
      Case 1:15-cv-07433-LAP Document 1330-15 Filed 01/05/24 Page 14 of 43




the NP A and the associated guilty plea that Epstein entered. The victims allege that Epstein

sexually abused them and that the Government violated their rights under the Crime Victims'

Rights Act (CVRA), 18 U.S.C. 3771, by not conferring with them about the deal that the

Government reached with Epstein on that sex abuse. The case is currently pending. See Jane

Does v. United States; No. 9:08-c-v-80736, DE 361 (S .D. Fla.).

        4.     Because of Epstein's central role in the sexual abuse of Ms. Giuffre, Ms. Giuffre

has long been attempting to depose him in the action. Epstein, who is generally regarded as

having vast financial resources, evaded those efforts to be served. Accordingly, on May 25,

2016, Ms. Giuffre sought leave to serve Epstein by alternative means. Giuffre v. Maxwell, No.

1: 15-cv-07433, DE 160 (S.D.N.Y.). Shortly thereafter, Epstein agreed through counsel to

voluntarily appear for a deposition.

        5.     On August 25, 2016, Ms. Giuffre served a subpoena on Epstein through his

counsel. See McCawiey Deel., Exhibit 3 (Epstein subpoena). The document sought production

of 22 categories of documents directly linked to the underlying lawsuit. For example, request for

production ("RFP") 1 sought all photographs of Epstein in the presence of either Ms. Giuffre or

Ms. Maxwell. RFP 6 sought Epstein's documents relating to Ms. Giuffre. RFP 7 sought

Epstein's documents relating to Ms. Maxwell. The subpoena requested Epstein make the

production of documents within the Southern District of Florida

       6.      On September 2, 2016, Epstein's legal counsel sent a letter to Ms. Giuffre's legal

counsel raising various objections to production of documents, including a Fifth Amendment

privilege. See Mccawley Deel., Exhibit 4 (Goldberger letter). (Because the letter was sent via

conventional mail, counsel did not receive it until September 8, 2016.)




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          7.     On September 9, 2016, Epstein appeared pursuant to the subpoena and was

deposed. See Mccawley Dec., Exhibit 5 (transcript of Epstein's deposition). The deposition

took place in West Palm Beach, Florida.

          8.     After Epstein was sworn in, he invoked his Fifth Amendment right on every

single substantive question he was asked, except the question asking his name. He was asked

approximately 500 substantive questions by counsel for Ms. Giuffre and approximately 100

substantive questions by counsel for defendant Maxwell. He did not answer a single one. 2

          9.     Counsel for Ms. Giuffre attempted to confer with Epstein's counsel regarding the

basis for the privilege objections, but Epstein's counsel declined to elaborate. Epstein Depo. Tr.

at 10.

          10.    With regard to the subpoena producing documents, Epstein took the Fifth rather

than answer questions about whether he had substantial financial resources that could minimize

any burden in responding to the document production request. Id. at 164:22-25.

          11.    With regard to producing document, Epstein and his lawyers asserted a Fifth

Amendment privilege:

          Q. Did you bring any documents with you today pursuant to this subpoena?

          A. Fifth.

         MR. WEINBERG [counsel for Epstein]: We would assert the Fifth Amendment
         as well as the act of production for the protections against responding to that
         question or producing any documents, relying on the Supreme Court decision in
         Hubble, the second circuit August 1st decision in Greenfield.

         Q. MR. CASSELL: Understood. I'll assume you have a standing objection
         based on the grounds that you just described to all my questions with regard to
         this subpoena?



2 Maxwell has designated the entire contents of Epstein's deposition as confidential pursuant to

the Protective Order entered in that case, and, therefore, the contents must be filed under seal.
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       MR. GOLDBERGER: Just so we're clear, the Fifth Amendment objection as to
       act of production is going to apply to everything that --

       MR. CASSELL: Yeah. We disagree. You have an Fifth Amendment and act of
       production.

       BY MR. CASSELL:
       Q. You have made no effort to collect any of the documents requested here,
        • h?
       ng  t .... 3

       THE WITNESS: Fifth Amendment.

       BY MR. CASSELL:
       Q. In of the last three weeks you made no search at all for the 22 categories of
       documents requested here, right? . . .

       THE WITNESS : Fifth.

       BY MR. CASSELL:
       Q. Where are the documents requested by these 22 requested categories?

       A. Fifth.

       Q. You have not produced a privilege log for these items, have you?

       A. Fifth.

       Q. It would not be burdensome for you to search for any of these documents,
       would it? ...

       THE WITNESS: Fifth.

       BYMR. CASSELL:

       Q. It would be quite simple for you[] to run search terms, such as Virginia,
       through your e-mail accounts, right? .. .

      THE WITNESS: Fifth.
      BY MR. CASSELL:

      Q. And you have plenty of money to fund any of the searches that would be
      required to produce these documents, right? .. .


3 Defense counsel for Ms. Maxwell raised various "form and foundation" objections to these
questions, which are omitted for purposes of this motion, which seeks to compel actions by
Epstein, not Maxwell.
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        THE WITNESS: Fifth.

Id. at 226-29 .

        12.       Epstein was also asked specific questions with regard to his failure to produce

certain records, such as telephone records regarding his communications with Maxwell. Epstein

also took the Fifth rather than answer any such question. Id. at 229-30.

        13 .      Epstein was also asked various questions about Maxwell's interactions with

females overseas. In particular, he was asked about actions in England (id. at 140-47), France

(id. at 152-54), Thailand (id. at 154-57), Brunei (id. at 157-59), the Czech Republic (and former

Czechoslovakia) (id. at 159-63), and other foreign countries (id. at 163-64). Epstein refused to

answer any of these questions. In latter questioning, Epstein took the Fifth rather than admit that

part of his basis for asserting the Fifth Amendment privilege was fear of foreign prosecutions.

Id. at 343.

        14.       Ms. Giuffre now files the motion to compel production of the documents pursuant

to her duly-issued subpoena.

                                       LEGAL STANDARDS

        Under Federal Rule of Civil Procedure 45, a party may request any person to appear for a

deposition to answer questions and to produce documents within his possession. Under Fed. R.

Civ. P. 45(d)(2)(B), a person who objects to production can lodge an objection. At that point, the

party seeking production can move for an order compelling production of the documents, Fed. R.

Civ. P. 45(d)(2)(B)(i), which is the step that Ms. Giuffre is now taking. The motion for

production of documents must be filed in the Court where production is required - i.e., in this

Comi. Similarly, with regard to production of testimony, a party seeking discovery can move for




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an order requiring disclosure. Fed. R. Civ. P. 37(a)(l). The motion must also be made in the

Court where the discovery is to be taken- i.e., in this Court. Fed. R. Civ. P. 37(a)(l).

        A party contending that a subpoena should be quashed pursuant to Rule 45(c) (3)(A)(iv)

must demonstrate that compliance with the subpoena would be unduly burdensome." Bridgeport

Music Inc. v. UMG Recordings, Inc., No. 05CIV.6430(VM)(JCF), 2007 WL 4410405, at *l

(S.D.N.Y. Dec. 17, 2007). In addition, a party asserting that he is privileged not to produce a

document has the burden of establishing that privilege. See Maple Wood Partners, L.P. v. Indian

Harbor Ins. Co., 295 F.R.D. 550, 583 (S.D. Fla. 2013) (applying Florida law) ("the burden of

demonstrating that a privilege applies to a particular communication ... is on the proponent of

the privilege"); United States v. Bright, 596 F.3d 683, 691 (9th Cir. 2010) (witness asserting

Fifth Amendment privilege "bears the burden of showing testimony or documents are

privileged").

       While Epstein can assert a Fifth Amendment privilege in this civil case, "it is not for the

witness to determine whether the answers are protected; it is a decision left to the sound

discretion of the trial court after considering the circumstances of the case. [T]o assert the

privilege there must be a "substantial and 'real' "threat of incrimination and not one that is

"merely trifling or imaginary." Taubert v. State, Office ofAtty. Gen., 79 So. 3d 77, 81 (Fla. Dist.

Ct. App. 2011) (citing Marchetti v. United States, 390 U.S. 39, 53 (1968); State v. Mitrani, 19

So.3d 1065, 1068 (Fla. 5th DCA 2009) (other internal citations omitted)). After Epstein explains

the basis for his invocation, and Ms. Giuffre responds, this Court then makes findings on a

question-by-question basis. See, e.g., Capitol Prod. Corp. v. Hernon, 457 F.2d 541, 544 (8th

Cir. 1972) ("To protect the right of both parties and assure satisfactory review, the comi should




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clearly state the basis on which it sustains or rejects the defendant's objection to a particular

question.").

        Because this case is a diversity action state law generally provides the rule of decision for

substantive privilege issues. See Giuffre v. Maxwell, DE 135 at 6, 2016 WL 175918 at* 6

(applying New York privilege law) (citing Allied Irish Banks v. Bank ofAm., NA., 240 F.R.D.

96, 102 (S.D.N.Y. 2007) ("Because this Court's subject matter jurisdiction is based upon

diversity ... state law provides the rule of decision concerning the claim of attorney-client

privilege.")). In this case, Epstein's inability to provide a basis for Fifth Amendment invocations

does not turn on peculiarities of the law of any one jurisdiction, and thus authorities from various

jurisdictions are cited interchangeably.

                                           ARGUMENT

I.      EPSTEIN SHOULD BE COMPELLED TO PRODUCE THE REQUESTED
        DOCUMENTS.

        A.     It is Not Unduly Burdensome for Epstein to Produce the Requested
               Documents.

        If Epstein wishes to establish undue burdensomeness in producing documents, it is his

burden to carry. As recounted above, however, Epstein has refused to answer questions

regarding undue burdensomeness. See Statement of Fact, at~ 10. Presumably this is because

his vast wealth would make it difficult from him to prove that point.

       In any event, even were Epstein to attempt to show undue burdensomeness, he could not

establish that any burden is "undue." Epstein is a central figure in this case - the most central

figure, apart from the two parties, the plaintiff and the defendant. And the defendant is feigning

memory loss over many of the most significant events in this case - including many events that

involved Epstein. Because of his central role in the case, it is important for Ms. Giuffre to have

the requested documents from him. No undue burden exists.

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        B.     Epstein Cannot Assert a Fifth Amendment Privilege in the Documents
               Themselves.

        As reflected in the transcript quoted above, Epstein asserted both a Fifth Amendment

privilege not to produce the documents as well as a Fifth Amendment act-of-production

privilege. The act of production issues will be addressed in the next section below. But

Epstein's Fifth Amendment objection is frivolous.

        The contents of pre-existing documents are not protected by the Fifth Amendment. The

Fifth Amendment only protects a witness against testifying about certain events, not producing

documents already in his position. In his deposition, Epstein's legal counsel referenced two

cases: United States v. Hubbell, 530 U.S. 27 (2000); and United States v. Greenfield, --- F.3d ---,

2016 WL 4073250 (2d Cir. Aug. 2, 2016). But as both of those cases make clear, a defendant

does not have a Fifth Amendment privilege to refuse to produce documents (as opposed to the

privilege that does exist to refuse to give testimony verbally). The Supreme Court in Hubbell

specifically noted "the settled proposition that a person may be required to produce specific

documents even though they contain incriminating assertions of fact or belief because the

creation of those doctiments was not 'compelled' within the meaning of the [Fifth Amendment]

privilege." Hubbell, 530 U.S. at 35-36 (citing Fisher v. United States, 425 U.S. 391 (1976)).

Similarly, the Second Circuit in Greenfield, following the Supreme Court's lead, held that "the

contents of the records [do] not implicate the Fifth Amendment." --- F.3d ---, 2016 WL 4073250

at *5 (reviewing Fisher, 425 U.S. at 409-10). See also Braswell v. United States, 487 U.S. 99,

102 ( 1988) ("There is no question but that the contents of subpoenaed business records are not

privileged."); United States v. Doe, 465 U.S. 605, 612 n. 10 (1984) ("If the party asserting the

Fifth Amendment privilege has voluntarily compiled the document, no compulsion is present and

the contents of the document are not privileged.").
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        In light of these controlling authorities, Epstein cannot rely on a Fifth Amendment self-

incrimination argument to withhold the documents.

        C.     Epstein Cannot Assert an Act of Production Privilege to Refuse to Produce
               the Documents to Ms. Giuffre.

        Epstein cannot demonstrate that the act of producing documents in incriminating for two

separate and independent reasons. First, he will not be producing anything publicly or to the

Government, but only confidentially to Ms. Giuffre - a private party. Because any such

production will be confidential and pursuant to a protective order, Epstein faces no substantial

threat of prosecution from making the disclosure. Second, Epstein's act of production (as

opposed to the documents themselves) is not incriminating.

               1.      Pr9_ducing Documents Confidentially to a Private Party Under a Protective
                       Order Does Not Create a Substantial Risk of Incrimination.

       During his deposition, Epstein cited two cases as supporting his Fifth Amendment

invocations: United States v. Hubbell, 530 U.S . 27 (2000); and United States v. Greenfield, ---

F.3d ---, 2016 WL 4073250 (2d Cir. Aug. 2, 2016). But as even a cursory review of the case

captions in those cases makes clear, both of those cases involved litigation in which the

Government was attempting to force a witness to disclose information to it. In Hubbell, the issue

was whether the Government could issue a subpoena to force a witness to turn over documents to

a grandjury investigating criminal charges. 530 U.S . at 30-31. In Greenfield, the issue was

similarly whether the Government (specifically the Internal Revenue Service or IRS) could force

a taxpayer to turn over records demonstrating possible tax evasion to it.

       Here, no such ·disclosure to the Government will occur if Epstein is compelled to provide

answers to Ms. Giuffre's questions. Moreover, the entire deposition has already been designated

as "confidential" by defendant Maxwell, making the proceedings subject to a protective order.

See Addendum A (copy of protective order). In such circumstances, there is no substantial risk

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of incrimination from the mere production of documents to Ms. Giuffre's counsel. See generally

Marc Youngelson, The Use of 26(c) Protective Orders: "Pleading the Fifth" Without Suffering

    "Adverse" Consequences, 1994 Ann. Surv. Am. L. 245 (1995); see also Palmieri v. State ofNew

York, 779 F.2d 861 (2d Cir. 1985).

          Pursuant to the protective order, Ms. Giuffre' s counsel (and Ms. Maxwell's counsel 4) are

forbidden to disclose the materials for "any purpose except the preparation and trial of this case."

Protective Order, i 4. Under the terms of the protective order, all materials secured in the case

will be destroyed at the end of the case. Protective Order, i 12. And while the Protective Order

does not bar the use of confidential materials at trial, Protective Order i 13, Ms. Giuffre' s

counsel represent that they will not use at trial any documents that Epstein produces without first

notifying Epstein and seeking leave of Court to do so. As a result, Epstein can provide

documents to Ms. Giuffre, allowing her to investigate this case without compromising any

interest that Epstein may have in avoiding self-incrimination. And most important, because all

of the relevant proceedings to this motion - including this motion itself- are under seal at this

time, the Government will not even be aware of Epstein's disclosure of materials, much less be

in position to even file a motion to attempt alter the protective order. In such circumstances,

Epstein faces no "real and substantial hazard" of his act of producing documents to Ms. Giuffre' s

counsel incriminating himself. United States v. Kowalik, 809 F. Supp. 1571 , 1577 (S.D. Fla.

1992), affd, 12 F.3d 218 (11th Cir. 1993), and ajj'd, 12 F.3d 218 (11th Cir. 1993).

                 2.     Epstein's Mere Act of Producing Documents Does Not Incriminate
                        Himself.

          Epstein's act of producing documents to Ms. Giuffre's counsel will not only be unknown

to the Government, but it is, in any event, not incriminating. It bears emphasizing - again - that
4
 It may be relevant to note that defendant Maxwell has not sought any documents from Epstein,
and thus the only issue presented here is the extent to which Ms. Giuffre can use the documents.
                                                  12
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the only possible claim Epstein can raise is not that the document he possesses are in some sense

incriminating, but only that the act of producing those documents is incriminating. See United

States v. Doe, 465 U.S. 605, _ (1984) (O'Connor, J., concurring) ("the Fifth Amendment

provides absolutely no protection for the contents of private papers of any kind."); United States

v. Hubbell, 530 U.S. 27, 35-36 (2000) (noting that it is a "settled proposition that a person may

be required to produce specific documents even though they contain incriminating assertions of

fact or belief because the creation of those documents was not 'compelled' within the meaning of

the privilege"); Sallah v. Worldwide Clearing LLC, 855 F. Supp. 2d 1364, 1371 (S.D. Fla. 2012)

("Where documents are voluntarily prepared before they are requested, for example, the

Supreme Court has held that such documents do not contain 'compelled testimonial evidence'

within the meaning of the Fifth Amendment, even if the contents are incriminating."). The so-

called "act of production doctrine" extends protection only to "communicative elements" of

production, specifically where compliance with a subpoena could disclose to the Government

incriminating information about "(1) the existence of the documents; (2) the [witness's]

possession or control of the documents; and (3) the authenticity of the documents." United

States v. Greenfield, 2016 WL 4073250 at *5 (citing Fisher v. United States, 425 U.S. 391,411

(1976)).

       Once again, Epstein will not be making any act of production to the Government. And,

in any event, for many documents of the subpoenaed documents, no plausible claim of act-of-

production testimony and incrimination5 are possible. While Ms. Giuffre will respond to any

effort that Epstein makes to carry his burden of establishing his privilege, a few simple




5
 Under the act of production doctrine, Epstein bears the burden of showing both that the
production is incriminating and the testimony is incriminating.
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illustrations will demonstrate that Epstein's claim that he need not produce even a single

document is vastly overbroad.

                       a.      Records Re.fleeting Communications with Maxwell

        One simple example is the request for records reflecting communications between

Epstein and defendant Maxwell, including cellular telephone records. See Subpoena, 117, 13.

Cell phone records, which would obviously have been sent to Epstein by his carrier, can be

easily authenticated by people other than Epstein - including representatives of the carrier or

others knowledgeable in cell phone records . See Sallah, 855 F. Supp. 2d at 1374 (requiring

production of contracts because "any contracts could be authenticated by someone other than

[the person invoking the Fifth Amendment]"). As a result, such records are the kind of

regularly-sent business records for which act of production claims are regularly rejected. See

Greenfield, 2016 WL4073250 at *11 (noting that "large commercial financial institutions ...

naturally would have sent regular account statements and other disclosures to account holders . ..

. ") (citing United States v. Norwood, 420 F.3d 888, 895-96 (8 th Cir. 2005) (allowing production

of documents "possessed by the owners of financial accounts as a matter of course" associated

with specific identified accounts)); see Matter of Grand Jury Subpoenas Dated Oct. 22, 1991, &

Nov. 1, 1991, 959 F.2d 1158, 1165 (2d Cir. 1992) ("the act of producing copies of the telephone

company statements and bills would not cause Doe to incriminate himself').

                       b.      Bank Records Reflecting Payments

       Another similar example is the request for financial records involving payments made to

defendant Maxwell. See Subpoena, 121. Here again, the simple act of producing the bank

records involved in such payments cannot be recorded as either testimonial or incriminating.

This is a case where it can be shown "with reasonable particularity that, at the time that the act of

production was sought to be compelled, . .. the materials were already known of, thereby

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making any testimonial aspect [of the production] a 'foregone conclusion."' Sallah v.

Worldwide Clearing LLC, 855 F. Supp. 2d 1364, 1372 (S.D. Fla. 2012) (quoting In re Grand

Jury Subpoena Duces Tecum Dated March 25, 2011, 670 F.3d 1335, 1346 (11th Cir.2012) (some

internal citations omitted). Indeed, this Court has recently required the production of bank

records over a Fifth Amendment objections. See Sallah, 855 F.Supp.2d at 1375 ("The Fifth

Amendment does not shield [the witness's] act of production in response to this request [seeking

monthly bank account records]."). Moreover, because the documents involve payments to one

specifically identified person - i.e ., Maxwell - the request calls for Epstein to produce "an

objectively determinable universe[] of documents and do[es] not require [him] to employ the

contents of his mind to choose what documents might be responsive to the requests. Sallah, 855

F. Supp.2d at 1373 (internal quotations omitted).

                       c.      Photographs Depicted Nude Females

       Epstein also lacks any self-incrimination claim for failing to produce photographs of nude

or partially nude females. See Subpoena,~ 5. 6 A photograph obviously does not involve

testimony. And the authenticity of photographs can be established in different ways not

involving Epstein. For example, if a photograph fairly and accurately depicts Ms. Giuffre, she

herself could authenticate the photograph.

               3.      Epstein Must, at a Minimum, Produce a Privilege Log.

       These examples of documents that could be produced without risk of incrimination could

be easily multiplied - and Ms. Giuffre, by filing this motion, seeks to compel Epstein to respond

to all 22 of her document requests. But in considering Fifth Amendment issues, a broader point

6 If Epstein possesses particular photographs that are "child pornography," then production of
those particular photographs could itself be incriminating. However, child pornography is
narrowly defined as images of a minor "engaging in sexually explicit conduct." See 18 U.S.C.
2256(8)(A). Ms. Giuffre is not seeking the production of any such contraband materials from
Epstein.
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becomes relevant. Epstein does not appear to have even bothered to first collect responsive

documents before asserting a Fifth Amendment claim. For example, during his deposition,

Epstein took the Fifth rather than answer a question about whether he had produced a privilege

log. Epstein Depo. Tr. at 228.

       Under the Federal Rules of Civil Procedure, Epstein is required to produce a privilege log

for the communications he is withholding. Fed. R. Civ. P. 45(e)(2)(A) provides that "[a] person

withholding subpoenaed information under a claim that it is privileged . .. must describe the

nature of the withheld documents, communications, or tangible things in a manner that, without

revealing information itself privileged or protected, will enable the parties to assess the claim."

Epstein should have provided this log at the time of his deposition so that he could be questioned

about it. He certainly should produce a log immediately, if he hopes to sustain his claim.

       The "general rule" in this Court is that a "blanket refusal to produce records or to testify

is simply insufficient to support a Fifth Amendment claim." United States v. Kowalik, 809 F.

Supp. 1571, 1577 (S.D. Fla. 1992), aff'd,. 12 F.3d 218 (11th Cir. 1993), and ajf'd,. 12 F.3d 218

(11th Cir. 1993). Instead, a witness who has been subpoenaed to produce documents "must

present himself with his records for questioning, and as to each question and each record elect to

raise or not to raise the defense." Id (discussing taxpayer's refusal to respond to IRS summons).

In addition, the Court's local rules require the production of a privilege log whenever materials

are withheld on the basis of privilege. See Local 26.l(e)(2)(C) ("This rule requires preparation

of a privilege log with respect to all documents, electronically stored information, things and oral

communications withheld on the basis of a claim of privilege . ... except [attorney-client

communications or work product materials created after the lawsuit].").




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        Epstein was served with a subpoena from the U.S. District Court for the Southern District

of New York. That Court also requires production of a privilege log at the time of any objection

to a subpoena. As that Court has explained:

       Both Fed. R. Civ. P. 26(b)(5) and 45(c) and S.D.N.Y. Civ. R. 26.2 require the
       submission of a privilege log where a person served with a document request or
       subpoena objects to the production of requested documents on the ground of
       privilege. Rule 26(b)(5) does not explicitly state exactly when the privilege log
       must be provided. Rule 45 is more precise, requiring that a person objecting to a
       subpoena must serve either written objections or move to quash within the earlier
       of the time fixed for compliance or fourteen days after service and, if withholding
       subpoenaed material on the ground of privilege, must provide a privilege log. 46 It
       thus suggests strongly that the privilege log, absent judicial relief, must
       accompany any objections or motion to quash. But Local Rule 26.2 is even more
       explicit. Paragraph (c) states:

                "Where a claim of privilege is asserted in response to discovery or
                disclosure other than a deposition, and information is not provided on the
                basis of such assertion, the information set forth in paragraph (a) above
                shall be furnished in writing at the time of the response to such discovery
                or disclosure, unless otherwise ordered by the court."

       This reflects a 1997 modification to the local rules "to specifically require that the
       privilege list ... be furnished at the time of the response unless otherwise ordered
       by the court. "48

In re Chevron Corp., 749 F. Supp. 2d 170, 180-81 (S.D.N.Y.), affd sub nom. Lago Agrio

Plaintiffs v. Chevron Corp., 409 F. App'x 393 (2d Cir. 2010).

       Epstein should, at a minimum, be required to produce a privilege log for each of the 22

questions in the subpoena and explain the basis for his Fifth Amendment invocations. At that

point, Ms. Giuffre will be in a position to further respond and show why his invocations are not

well-founded.



II.    EPSTEIN SHOULD BE COMPELLED TO ANSWER QUESTIONS THAT
       FACIALLY POSE NO REAL AND SUBSTANTIAL RISK OF SELF-
       INCRIMINATION.



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        Epstein also took the Fifth with regard to many questions for which there was no realistic

risk of self-incrimination. As the Eleventh Circuit has explained, "[t]he central standard for the

... application [of the fifth amendment privilege against self-incrimination is] whether the

claimant is confronted by substantial and 'real', and not merely trifling or imaginary, hazards of

incrimination." United States v. Argomani~, 925 F.2d 1349, 1353 (11th Cir. 1991) (citing

Marchetti v. United States, 390 U.S. 39, 53 (1968). Thus, the privilege applies only in "instances

where the witness has reasonable cause to apprehend danger" of criminal liability. Argomaniz,

925 F.2d at 1353 (citing Hoffman v. United States, 341 U.S. 479,486 (1951)).

       Not only does Epstein bear the burden of establishing the validity of his privilege claim,

but a "court must make a particularized inquiry, deciding, in com1ection with each specific area

that the questioning party wishes to explore, whether or not the privilege is well-founded."

Argomaniz, 925 F.2d 1349, 1355 (1 1th Cir. 1991). Here, there are a number of questions that

does not appear to pose any "substantial and real" risk of incrimination. These questions include

the following:

       1.        Q. Is there anything, including any physical conditions or ailments, that would
                 prevent you from giving truthful testimony today? (Id. at 15).

       2.        Q. What state do you consider yourself to be a citizen of? (Id. at 15-16).

       3.        Q. You know the Defendant in this case, Ghislaine Maxwell, true? (Id. at 16).

       4.        Other questions of a similar nature about interactions with Maxwell. (Id. at 16-
                 20).

       5.        Epstein has a joint defense agreement and common interest agreement with
                 Maxwell. (Id. at 20-21).

       6.        Without going into the substance of any communications that you have had, you
                 have communicated with Maxwell since September 21st, 2015, true? (Id. at 26.)
       7.        Q. What e-mail accounts has Maxwell used in her communications with you? (Id.
                 at 27).



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        8.     Q. In June 2008, in open court, you pled guilty to two Florida State felonies,
               correct? (Id. at 28.)

        9.     Other similar questions relating to the state crime to which Epstein has already
               plead guilty. (Id. at 28-42).

        10.    Q. In fact, at that time [around 2005], Maxwell was regularly at your Palm Beach
               mansion, true? (Id. at 43.)

        11 .   Q. Sir, isn't it true that Mas. Maxwell was running your Palm Beach mansion in
               2000 [and other years]? (Id. at 44-47.)

        12.    [Following a break in the deposition] Q. Without going into the substance of any
               communication, who[m] did you speak to during the break? (Id. at 48.)

        13.    Q. You have millions and millions of dollars available to your disposal to satisfy
               any need for assistance in responding to discovery in this case, true? (Id. at 165.)

        14.    Q. How much money have you given Maxwell since 1996? (Id. at 166.)

        15.    Other similar questions regarding financial payments to or transactions with
               Maxwell. (Id. at 166-69).

        16.    Q. In the period 1999 to 2005, what kind of donations did you make to the Palm
               Beach Police Department or to any organization associated with the Palm Beach
               Police Department? (Id. at 172.)

        17.    Q. Please describe all dinners you've ever had with Bill Clinton. (Id. at 176.)

        18.    Q. Ifwe wanted to serve you with legal process in the future, what would be the
               simplest way to do that? (Id. at 179.)

        19.    Q. Please describe all your overseas travel in the last two years. (Id. at 179-80.)

       20.     Q. It's a matter of public record that you later settled that lawsuit [filed against
               you by Ms. Giuffre], right? (Id. at 196.)

       21.                                                                            9
               Q. Sir, you are [un]willing to sign an unconditional waiver allowin Virginia to
               turn over the settlement agreement to Maxwell, right? (Id. at 198).
       22.     Q. Sir, you know Harvard Law Professor, now former law professor, Alan
               Dershowitz? (Id. at 199.)



7 The transcript errantly uses the term "willing," but in context the term should have been

recorded by the stenographer as "unwilling." In either event, the point remains that Epstein took
the Fifth rather than answer this question.
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 23.   Q. Alan Dershowitz has sent drafts of books he was writing for you to review,
       right? (Id. at 200.)

 24.   Q. Without discussing any particular attorney-client communications, what was
       the general type of legal work [Dershowitz] did for you? (Id. at 200.)

 25.   Q. When did Dershowitz first become your lawyer? (Id. at 201.)

 26.   Q. Has Dershowitz ever provided you business advice of a nonlegal nature? (Id.
       at 201-02.)

 27.   Q. [Shortly after December 30, 2014] Did you authorize Dershowitz to make any
       public statements on your behalf? (Id. at 204.)

 28.   Q. Was that [statement to the media that "He's as outraged as I am," referring to
       Epstein] an authorized statement on your behalf by Alan Dershowitz? (Id. at
       206).

 29.   Related questions about Dershowitz's statement to the media describing a
       statement made by Epstein. (Id. at 205-06.)

 30.   Q. In 2000 and 2001, Dershowitz came to visit you in your New York mansion,
       true? (Id. at 206.)

 31.   Q. If we focus in on the years 2000 and 2001, how many times did Dershowitz
       visit you in your various homes? (Id. at 207.)

 32.   Q. While you were negotiating with the U.S. Attorney's Office, you were also
       workirig with [Assistant U.S. Attorneys] Menchel and Lurie to help them secure
       lucrative employment when they left the office, right? (Id. at 213.)

33.    Q. Bill Clinton flew on your jet a number of times in 2002, right? (Id. at 219.)

34.    Q. Maxwell frequently flew a helicopter in the U.S. Virgin Islands, right? (Id. at
       221.)

35.    Q. Please list every place you and Bill Clinton have ever been together. (Id. at
       222-23.)

36.    Q. Please describe all of your interactions with the Clinton Foundation. (Id. at
       225.)

37.    Q. Sir, you've made no effort to collect any of the documents requested here [in
       the subpoena for the deposition], right? (Id. at 227.)




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        38.    Q. It would not be burdensome for you to search for any of these documents
               [requested in the deposition subpoena], would it? (Id. at 228.)

        39.    Q. I want to direct your attention to the item 13, which requests all -- . . .telephone
               records associated with you, including cell phone records, from 1999 to present
               that show[] communications with Maxwell, Ghislaine Maxwell. You've taken no
               steps to secure those documents, right? (Id. at 229.)

        40.    Q. You have seen Ms. Maxwell commit crimes, right? (Id. at 231.)

       41.     Q. When Rodriguez was describing Maxwell's involvement with underage girls,
               your attorneys had an interest in attacking that testimony, right? (Id. at 254.)

        42.    Q. In fact, Maxwell has been a partner with you in several of your business
               enterprises, right? (Id. at 264.)

       43.     Q. You hope that Maxwell prevails in this litigation, right? (Id. at 265.)

       44.     Q. In fact, you and your attorney actually got together on the phone with Virginia
               in about 2007, right? (Id at 269-70.)

       45.     Q. Which of your attorneys was on the phone with Virginia in about 2007? (Id at
               270.)

       46.     Q. This litigation will affect the reputation of associates of yours, won't it? (Id. at
               333.)

       47.     Q. In fact, as a pragmatic matter, you are essentially a Defendant in this action,
               right? (Id. at 335.)

       48.     Q. Please describe the way yours and Maxwell's business affairs are intertwined
               currently. (Id at 338.)

       49.     Q. What is your arrangement with Ms. Maxwell with regard to paying any ...
               judgment that might be reached against her in this case? (Id. at 370.)

       It is up to Epstein to show that each of these questions that he refused to answer posed a

substantial risk of self-incrimination. Moreover, if Epstein can provide even some information

in answer to the question without incriminating himself, he must provide that partial answer.

See, e.g., Nat'! Day Laborer Org. Network v. U.S. Immigration & Customs Enft Agency, 811 F.

Supp. 2d 713, 740 (S.D.N.Y. 2011), amended on reconsideration (Aug. 8, 2011) (discussing



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documents "redacted to different degrees" to provide information without violating privilege);

Jones v. B. C. Christopher & Co., 466 F. Supp. 213, 223 (D. Kan. 1979) (noting that witness

"may make partial answers and stop when he believes further comment would incriminate him").

A "witness is not exonerated from answering merely because he declares that in so doing he

would incriminate himself; his say-so does not of itself establish the hazard of incrimination."

Martin-Trigona v. Gouletas, 634 F.2d 354, 360 (7th Cir. 1980). Because Epstein cannot

establish the hazard of incrimination with respect to each of the questions above, the Court

should compel him to answer each of these questions (and permit counsel to ask reasonable

follow-up questions in the same vein).

III.   EPSTEIN SHOULD BE COMPELLED TO ANSWER QUESTIONS ABOUT
       MAXWELL'S INVOLVEMENT WITH FEMALES IN FOREIGN COUNTRIES.

       Epstein should also be compelled to answer questions about Maxwell's involvement with

females in foreign countries. The Supreme Court has made very clear that a witness may not

invoke a Fifth Amendment privilege to refuse to answer questions that pose a risk of prosecution

in foreign countries. United States v. Balsys, 524 U.S. 666 (1998). The Court reasoned that the

Fifth Amendment creates rights only against the federal government (and, via incorporation

through the Fourteenth Amendment, against state governments). Id. at 672-74. As a result, any

argument that the Fifth Amendment has extra-territorial application has been foreclosed.

Valenzuela v. United States, 286 F.3d 1223, 1229 (11th Cir. 2002).

       In light of this controlling legal authority, Ms. Giuffre asked Epstein a series of very

narrow and specific questions about purely foreign activities. The questions began with the

limitation that Epstein was "to understand that the next series of questions we'll be dealing just

with your actions in England, not with any of your actions in the United States." Epstein Depo.

Tr. at 140. Epstein was then asked a series of questions - including a number of questions


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involving "English females." This limitation is important because Epstein may seek to invoke a

Fifth Amendment privilege with regard to his trafficking of American girls into England. See,

e.g., 18 U.S.C. § 2421(a). But no such trafficking concerns exist with regard to females already

located in England.

       For these reasons, Ms. Giuffre is entitled to force Epstein to disclose even his activities

with foreign females in foreign countries. But in this motion, Ms. Giuffre does not go so far.

Instead, she moves the Court to compel answers to a much narrower set of questions -

specifically, Maxwell's interactions with females overseas in specific countries. The specific

questions Ms. Giuffre moves to compel Epstein to answer are:

       England

       1.       Q. While in England, in Miss Maxwell's private residence, you observed Maxwell
                in the presence of English females under the age of 18, true? (Id.)

       2.       Q. While in England, Ms. Maxwell brought you English females to satisfy your
                sexual purposes, true? (Id.)

       3.       Q. Please describe how many times you have seen Maxwell in private locations
                with girls under the age of 18 in England? (Id. at 142)

       4.       Q. Based on your understanding of English criminal law, you have observed
                Maxwell commit English criminal offenses of a sexual nature in England, true?
                (Id.)

       5.       Q. Have you ever observed Maxwell commit a crime in England? (Id. at 143.)

       6.       Q. Please describe for me all the crimes you have seen Maxwell commit in
                England. (Id. at 144.)

       7.       Q. Please describe Maxwell's interactions in England with females under the age
                of 18. (Id. at 144.)




       France



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 8.       Q. Maxwell has frequently been to your apartment in Paris, France, true? (Id. at
          153.)

 Thailand

 9.       Q. You saw Maxwell in the presence of Thai females under the age of 18 in
          Thailand, true? (Id. at 155.)

 Brunei

 10.      Q. In 2002, you flew to Brunei with Maxwell on your private jet, true? (Id. at
          157.)

 11.      Q. Are you aware of .. . interaction by Maxwell with women in Brunei? (Id. at
          159.)Q. Are you aware of any interaction by Maxwell with girls under the age of
          18 in Brunei? (Id.)

 12.      Q. Please describe all the interactions you saw between Maxwell and girls from
          Brunei in Brunei. (Id.)

 Czech Republic/Czechoslavakia

 13.      Q. Was Maxwell ever with you when you were in the presence of girls under the
          age of 18 in the Czech Republic? (Id. at 161.)


 14.   Q. Has Maxwell ever interacted with minor girls from the former country known
       as Czechoslovakia? (Id. at 163.)

 Other Countries

 15.   Q. Please name all of the countries, not including the United States, where you
       have seen Maxwell in the presence of females who lived in those countries under
       the age of 18. (Id. at 162.)

 16.   Q. Please describe for me Maxwell's sexual interactions with females under the
       age of 18 in foreign countries with citizens of those countries. (Id. at 162.)

 17.   Q. Has Maxwell ever interacted with females under the age of 18 in foreign
       countries? (Id. at 162-63.)

 18.   Q. Based on your understanding of the criminal laws of other countries, has
       Maxwell ever committed a crime of a sexual nature in another country? (Id. at
       164.)




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         19.    Q. Please describe all the crimes of a sexual nature that you understand Maxwell
                has committed foreign countries. (Id. at 164.)

         20.    Q. Epstein cannot claim a realistic risk of incriminating himself by discussing
                these specific events regarding Maxwell.

                                           CONCLUSION

         For the reasons set forth above, plaintiff, Virginia Giuffre, respectfully requests that the

Court grant her Motion to Compel and direct Jeffrey Epstein to: (1) produce the documents that

he has been subpoenaed to produce (or, at the very least, produce a privilege log for each of the

categories for which documents are sought); (2) answer the specific, identified questions

identified in Section II above (and reasonable follow up questions) that pose no substantial and

real risk of incrimination; and (3) answer specific questions about Maxwell' s interactions with

females in other countries (and reasonable follow up questions), as identified in Section III

above.

         Dated: September 20, 2016              Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 20th day of September, 2016, I served the foregoing

document this day on the individuals identified below via email:


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              ADDENDUM A
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                                  United States District Court
                                 Southern District Of New York ,-r-:-·_-

--------------------------------------------------X
                                                                  'I '




Virginia L. Giuffre,

          Plaintiff,

V,                                                              15-cv-07433-RWS
Ghislaine Maxwell,

          Defendant.

-----------------------------------------------X


                                     PROTECTIVE ORDER

          Upon a showing of good cause in support of the entry of a protective order to

protect the discovery and dissemination of confidential information or information which

will improperly annoy, embarrass, or oppress any party, witness, or person providing

discovery in this .case, IT IS ORDERED:

     1.      This Protective Order shall apply to all documents, materials, and information,

             including without limitation, documents produced, answers to interrogatories,

             responses to requests for admission, deposition testimony, and other

             information disclosed pursuant to the disclosure or discovery duties created by

             the Federal Rules of Civil Procedure.

     2.      As used in this Protective Order, "document" is defined as provided in

             FEo.R.Crv.P. 34(a). A draft or non-identical copy is a separate document

             within the meaning of this term.
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  3.      Info nnation designated "CONFIDENTIAL" shall be information that is

          confidential and implicates common law and statutory privacy interests of (a)

          plaintiff Virginia Roberts Giuffre and (b) defendant Ghislaine Maxwell.

  4.      CONFIDENTIAL information shall not be disclosed or used for any purpose

          except the preparation and trial of this case.

  5.      CONFIDENTIAL documents, materials, and/or information (collectively

          "CONFIDENTIAL INFORMATION") shall not, without the consent of the

          party producing it or further Order of the Court, be disclosed except that such

          infonnation may be disclosed to:

          a. attorneys actively working on this case;

          b. persons regularly employed or associated with the attorneys actively

             working on this case whose assistance is required by said attorneys in the

             preparation for trial, at trial, or at other proceedings in this case;

         c. the parties;

         d. expert witnesses and consultants retained in connection with this

             proceeding, to the extent such disclosure is necessary for preparation, trial

             or other proceedings in this case;

         e. the Court and its employees ("Court Personnel") in this case;

         f. stenographic reporters who are engaged in proceedings necessarily incident

            to the conduct of this action;

         g. deponents, witnesses, or potential witnesses; and



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          h. other persons by written agreement of the parties.

  6.      Prior to disclosing any CONFIDENTIAL INFORMATION to any person

          listed above (other than counsel, persons employed by counsel, Court

          Personnel and stenographic reporters), counsel shall provide such person with

          a copy of this Protective Order and obtain from such person a written

          acknowledgment stating that he or she has read this Protective Order and

          agrees to be hound by its provisions. All such acknowledgments shall be

          retained by counsel and shall be subject to in camera review by the Court if

          good cause for review is demonstrated by opposing counsel.

  7.      Documents are designated as CONFIDENTIAL by placing or affixing on them

          (in a manner that will not interfere with their legibility) the following or other

          appropriate notice: " CONFIDENTIAL."            Discovery material designated

          CONFIDENTIAL shall be identified by Bates number. To the extent practical,

          the respective legend shall be placed near the Bates number.

 8.       Designation of a document as CONFIDENTIAL INFORMATION shall

          consti tute a representation that such document has been reviewed by an

          attorney for the designating party, that there is a valid and good faith basis for

          such designation, made at the time of disclosure or production to the receiving

         party, and that disclosure of such information to persons other than those

         permitted access to such material would cause a privacy harm to the

         designating party.



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  9.       Whenever a      deposition involves     the    disclosure   of CONFIDENTIAL

          INFORMATION, the deposition or portions thereof shall be designated as

          CONFIDENTIAL and shall be subject to the provisions of this Protective

          Order. Such designation shall be made on the record during the deposition

          whenever possible, but a party may designate portions of depositions as

          CONFIDENTIAL         after transcription,      provided   written   notice   of the

          designation is promptly given to all counsel of record within thirty (30) days

          after notice by the court reporter of the completion of the transcript, and until

          the expiration of such thirty (30) days after notice by the court reporter of the

          completion of the transcript, no party or counsel for any such party may share

          the contents of the deposition outside the limitations of this Protective Order.

  10.     Whenever a party seeks to file any document or material containing

          CONFIDENTIAL INFORMATION with the Court in this matter, it shall be

          accompanied by a Motion to Seal pursuant to Section 6.2 of the Electronic

          Case Filing Rules & Instructions for the Southern District of New York.

 11 .     A party may object to the designation of particular CONFIDENTIAL

          INFORMATION by giving written notice to the party designating the disputed

          information. The written notice shall identify the information to which the

          objection is made. If the parties cannot resolve the objection within ten ( 10)

          business days after the time the notice is received, it shall be the obligation of

         the party designating the information as CONFIDENTIAL to file an




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          appropriate motion requesting that the Court determine whether the disputed

          information should be subject to the terms of this Protective Order. If such a

          motion is timely filed, the disputed information shall be treated as

          CONFIDENTIAL under the terms of this Protective Order until the Court rules

          on the motion. If the designating party fails to file such a motion within the

          prescribed time, the disputed information shall lose its designation as

          CONFIDENTIAL and shall not thereafter be treated as CONFIDENTIAL in

          accordance with this Protective Order. In connection with a motion filed under

          this provision, the party designating the information as CONFIDENTIAL shall

          bear the burden of establishing that good cause exists for the disputed

          information to be treated as CONFIDENTIAL.

 12.     At the conclusion of this case, unless other arrangements are agreed upon, each

         document       and   all   copies   thereof which   have   been   designated   as

         CONFIDENTIAL shall be returned to the party that designated it

         CONFIDENTIAL, or the parties may elect to destroy CONFIDENTIAL

         documents. Where the parties agree to destroy CONFIDENTIAL documents,

         the destroying party shall provide all parties with an affidavit confirming the

         destruction.

 13.     This Protective Order shall have no force and effect on the use of any

         CONFIDENTIAL INFORMATION at trial in this matter.




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  14.     This Protective Order may be modified by the Court at any time for good cause

          shown following notice to all parties and an opportunity for them to be heard.




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